826 F.2d 1059Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Carson Hamlet BAILEY, Plaintiff-Appellant,v.VIRGINIA DEPARTMENT OF CORRECTIONS, Defendant-Appellee.
    No. 87-6029.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 28, 1987.Decided Aug. 6, 1987.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  Claude M. Hilton, District Judge.  (C/A No. 85-1346-AM)
      Carson Hamlet Bailey, appellant pro se.
      William W. Muse, Office of the Attorney General, for appellee.
      E.D.Va.
      AFFIRMED.
      Before RUSSELL, CHAPMAN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Bailey v. Virginia Department of Corrections, C/A No. 85-1346-AM (E.D.Va., Feb. 17, 1987).
    
    
      2
      AFFIRMED.
    
    